       Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 1 of 26




                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                :

                    v.                  :      Criminal No. 23-16

BHASKAR SAVANI, a/k/a “Dr. B,”          :
et al.

                                      ORDER

      AND NOW, this ________ day of June, 2023, upon consideration of Defendants

Bhaskar, Arun and Niranjan Savanis’ Motion for Temporary Modification of Pre-Trial

Release Conditions to Allow Periodic Travel to New York, New Jersey, and the Middle

and Western Districts of Pennsylvania for a Charitable Purpose, ECF No. 214, and the

Government’s response in opposition thereto, it is HEREBY ORDERED that the motion

is DENIED.




                                        ____________________________________
                                        HONORABLE JEFFREY L. SCHMEHL
                                        United States District Judge
        Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 2 of 26




                    IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA                    :

                      v.                    :       Criminal No. 23-16

BHASKAR SAVANI, a/k/a “Dr. B,”              :
et al.

            GOVERNMENT’S RESPONSE IN OPPOSITION
         TO DEFENDANTS BHASKAR SAVANI, ARUN SAVANI,
        AND NIRANJAN SAVANI’S EMERGENCY MOTION FOR
   TEMPORARY MODIFICATION OF PRE-TRIAL RELEASE CONDITIONS

Lead defendants Bhaskar, Arun and Niranjan Savani (the “defendants”) filed an

“emergency” motion for temporary modification of pre-trial release conditions

purportedly to allow “periodic travel to New York, New Jersey, and the Middle and

Western Districts of Pennsylvania for charitable purpose[s]” (“Emergency Motion”).

ECF No. 214. The government strongly objects to this frivolous request. The defendants

remain an extreme risk of flight, and the strictest combination of conditions are needed to

address that risk. They are multi-millionaires with easy access to money and private

planes, and they have substantial real-estate holdings outside of the United States. After

an extensive investigation, a grand jury found probable cause to charge these defendants

with serious offenses for which they are facing lengthy prison terms if convicted. In light

of their obvious incentives and wherewithal to flee, the defendants agreed to the current

conditions of release, in lieu of pre-trial detention, to ensure their appearance at trial.

There is simply no good reason to modify the agreed to conditions of release for the

defendants stated purpose of personally retrieving fruit at airports across multiple states.


                                                2
           Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 3 of 26




       Moreover, the defendants’ extreme risk of flight is apparent, including because (1)

the defendants likely discussed a plan to flee from the United States to India if ever

charged in this case 1; (2) the nature and circumstances of the offenses are very serious in

this RICO case where the defendants are exposed to approximately two-to-three decades

of imprisonment under the U.S. Sentencing Guidelines; (3) the weight of the evidence is

overwhelming; (4) the history and characteristics of the defendants demonstrate a

propensity for deceit, including with government entities; (5) the defendants have

significant financial resources both in the United States and abroad; (6) the defendants

have significant ties to India and can easily re-settle there; (7) the defendants have

directed individuals to lie to the government in the past; (8) the indictment alleges the

defendants’ efforts to produce false affidavits to submit to the government; and (9)

allowing additional freedom of movement could expose witnesses to the defendants

under the guise of mango deliveries. See 18 U.S.C. § 3142(g).

       Their motion is patently absurd. These defendants employ hundreds of people

through a myriad network of businesses, including Savani Farms LLC, a Pennsylvania


       1
         As discussed below, a confidential source told law enforcement that she or he
learned the defendants, before indictment, discussed a plan to flee to India if they are ever
indicted in this case. Fortunately, the strict combination of conditions post-indictment
have so far prevented the defendants flight and mitigated some of their dangerousness.
But given the strength of the government’s case, nature and circumstances of the offenses
including significant imprisonment exposure if convicted, strong ties to India, significant
financial resources in the United States and abroad, and past willingness to lie to the
government when it served their purposes, the government believes the defendants are
likely to flee before trial unless they remain on the strictest of conditions.




                                              3
        Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 4 of 26




for-profit corporation. This so-called charity operates with some of the same suspicious

activity seen in the defendants’ racketeering businesses. Recent bank records, described

below, call into question representations made by the defendants regarding the mango

business. The Court should not take at face value the defendants’ proffered reasons for

seeking a modification, particularly in light of the defendants’ mendacious past. As

alleged, the defendants are charged in a 42-count RICO indictment involving a more than

a decade-long racketeering enterprise consisting of heath care fraud, visa fraud, tax fraud

and money laundering crimes. To further those crimes, the defendants repeatedly lied to

and defrauded the government to benefit themselves.

       To provide just one example described in the indictment, the defendants are

charged in a visa fraud scheme. At the center of that scheme was an entirely fake

company, EZ Biotek LLC, which the defendants used to obtain fraudulent H-1B visas for

foreign workers who often entered the United States to work for the defendants’ various

businesses. The defendants repeatedly lied to the government about the work the visa

recipients would be doing, claiming that they would be pharmaceutical researchers and

chemists, when in reality they were employed in clerical, handyman, or other positions.

The defendants repeatedly lied about the visa recipients’ wages, and exploited many of

those same visa recipients by requiring them to kick back portions of their salaries. In an

egregious portion of the scheme, the defendants sought to reduce the chance of getting

caught in government onsite inspections by creating a physical EZ Biotek “laboratory” at

their corporate headquarters and outfitting it with outdated lab equipment. They created

EZ Biotek email addresses, directed EZ Biotek “employees” to visit the fake office at

                                             4
            Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 5 of 26




corporate headquarters on weekends, and created phony EZ-Biotek paperwork. During

the grand jury investigation in this case, the defendants went so far as to create false

affidavits to file with federal authorities. As “character” and “past conduct” are two of the

factors for the Court to consider, 18 U.S.C. § 3142(g)(3), those factors suggest the Court

should not rely on the defendants’ representations.

        The government is not overblown in its position. These defendants have every

reason to flee and every means to accomplish it. 2 They have also demonstrated a

propensity for deceit. And they represent a serious risk of obstruction, including by

intimidating trial witnesses. Their motion should be denied.

   I.        The Law

        Motions related to bail pending trial are governed by the Bail Reform Act, 18

U.S.C. § 3141 et seq. But neither the Federal Rules of Criminal Procedure nor the Bail

Reform Act specifically address the procedures or substantive law which govern a

request to modify conditions of pretrial release. Section 3142(c)(3) states that a “judicial

officer may at any time may amend the [release] order to impose additional or different

conditions of release,” but provides no guidance for how a court should go about doing

so, either procedurally or substantively. Section 3145(a)(2), when addressing review or

appeal of a magistrate judge’s order of release, allows the defendant to “file, with the



        2
          See United States v. Rudolph, 582 F. Supp. 3d 804, 816 (D. Colo. 2022)
(“[W]ealthy defendants facing serious charges have been able to use their substantial
financial resources to leave the country from which they face charges” like that of the
case of Ex-Nissan boss Carolos Ghosn, and those with wealth can “purchase foreign
citizenship and a passport”).
                                              5
        Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 6 of 26




court having original jurisdiction over the offense, a motion for amendment of the

conditions of release,” but again is silent regarding any procedural or substantive

standards for considering such a motion, other than stating that such a motion “shall be

determined promptly.” Finally, Section 3142(f) allows a detention hearing to be reopened

before or after a determination by the judicial officer, at any time before trial if the

judicial officer finds that information exists that was not known to the movant at the time

of the hearing and that has a material bearing on the issue whether there are conditions of

release that will reasonably assure the appearance of such person as required and the

safety of any other person and the community.

       Accordingly, the defendants’ request to modify conditions of pretrial release

essentially asks this court to reconsider and reweigh all the factors the magistrate judges

in this case considered when they imposed conditions of pretrial release for the

defendants.

       Under Section 3142(c), when a court determines that the release is appropriate

with conditions, the court shall order the pretrial release of the person subject to the least

restrictive further condition, or combination of conditions, that the court determines will

reasonably assure the appearance of the person as required and the safety of any other

person and the community, which may include any number of conditions, including:

       • “Abid[ing] by specified restrictions on personal associations, place of abode, or

           travel;”

       • “avoid[ing] all contact with an alleged victim of the crime and with a potential

           witness who may testify concerning the offense;”

                                               6
        Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 7 of 26




       • “comply[ing] with a specified curfew;” and

       • “satisfy[ing] any other condition that is reasonably necessary to assure the

           appearance of the person as required and to assure the safety of any other

           person and the community.”

18 U.S.C. § 3142(c)(1)(B).

       Moreover, Section 3142(f) describes that when evaluating whether a defendant is

eligible for pretrial detention, the Court may do so when there is a “serious risk that such

person will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate, or

attempt to threaten, injure, or intimidate, a prospective witness or juror.”

       Section 3142(g) sets out four factors a court should consider in determining

whether the government has carried its burden: “(1) the nature and circumstances of the

offense charged; (2) the weight of the evidence against the person; (3) the history and

characteristics of the person, including . . . the person’s character, physical and mental

condition, family ties, employment, financial resources, length of residence in the

community, community ties, past conduct, history relating to drug or alcohol abuse,

criminal history, and record concerning appearance at court proceedings; and (4) the

nature and seriousness of the danger to any person or the community that would be posed

by the person’s release.” Id. § 3142(g).

       Relevant here is that the defendants must make a threshold showing of new,

material information. See United States v. Hare, 873 F.2d 769, 799 (5th Cir. 1989)

(district court did not abuse its discretion in finding that defendant's work as an

electrician and selection as a trustee while in detention was not sufficiently material to the

                                               7
             Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 8 of 26




issue of dangerousness to justify a second hearing); see also United States v. Gay, No.

420CR40026JESJEH, 2020 WL 5983880, at *3 (C.D. Ill. Oct. 7, 2020), quoting United

States v. Kube, 2020 WL 1984178 (E.D. Cal. Apr. 27, 2020) (“[T]he fact that [d]efendant

has complied with his conditions of release is what allows him to remain out of custody

and is not new information that has a material bearing on his conditions to reopen the

detention hearing). Otherwise, a defendant could file endless petitions to modify his

conditions.

         In this case, the government has met its burden of proving by a preponderance of

the evidence that the defendants pose a risk of flight. Given that risk, the Court should not

revisit the Court’s previous orders governing the defendants’ pretrial release based on an

immaterial change in circumstances: that the defendants want to pick up mangoes from

international airports and deliver them to unknown persons and locations throughout

Pennsylvania, New York and New Jersey. The Court should deny the defendants’

motion.

   II.        The Defendants Pose an Extreme Risk of Flight

         The defendants have the financial means, international ties, and stated intent to

flee the country to evade prosecution. The defendants have interests in or own dental labs

in London, China, and India; software operations in India, a mango farm in India, and

other international real estate businesses and interests. 3 Indeed, prior to indictment, the


         3
          These real estate interests include the development and construction of a
skyscraper in Ahmedabad, India. See Ex. “A” (graphic from
https://in.pinterest.com/savaniinfraconllp/savani-infrastructure/ accessed May 30, 2023).

                                               8
            Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 9 of 26




defendants traveled internationally frequently, including travel to India several times each

year.

        Perhaps most salient to their stringent conditions of release, prior to indictment,

the government received information that the defendants were working to move their

business operations overseas and flee if indicted. And although the government has

seized one of the defendants’ private planes, the defendants have access to additional

private planes that are part of Fly Main Line LLC—a flight school, executive charter

service, and private plane maintenance company operated out of Brandywine Airport in

West Chester, Pennsylvania and Northeast Philadelphia Airport. 4 Two planes are

registered to companies organized by defendant Bhaskar Savani’s daughter, Shaily

Savani, with a corporate addresses of 401 Commerce Drive, Fort Washington, PA –

Savani Group corporate headquarters. 5

        In light of the serious nature of the crimes charged, the significant prison time the

defendants face if convicted, and their appreciable wealth and international ties, the

brothers pose a significant risk of flight. Accordingly, at the time of their arrest on



        Fly Main Line LLC is a Pennsylvania company organized in 2020 by Bhaskar
        4

Savani’s daughter, Shaily Savani, with a business address of 401 Commerce Drive, Fort
Washington, PA. The managing member and majority owner of Fly Main Line LLC is
Arun Savani’s son, Avin Savani. Brandywine Aviation & Maintenance is a fictitious
name registered to Fly Main Line LLC and provides airport maintenance operations, and
Brandywine Aviation Training Center LLC is the division of Fly Main Line LLC that
provides flight training. In 2022, defendant Arun Savani and Shaily Savani loaned
approximately $158,000 to Brandywine Aviation Training Center LLC (Avin Savani and
his two partners) in connection with the use of a Sling aircraft.
        5
            The companies are N641PF LLC and N642PF LLC.
                                               9
       Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 10 of 26




January 20, 2023, the government advised counsel for each of the three defendants that

the government was seeking GPS tracking with location monitoring and home detention

to reasonably assure their appearance or, in the alternative, pre-trial detention. All three

brothers stipulated to conditions of release as proposed by the government. Nevertheless,

in February 2023, just one month after their arrest, the defendants requested

modifications to include being on a 10:00 p.m. to 7:00 a.m. curfew, rather than house

arrest. The government reluctantly did not object to this modification to permit the

defendants to physically visit the office and operate any (purportedly legitimate) ongoing

businesses.

       The defendants now again seek to modify their conditions of release. This time the

defendants request permission to personally make “periodic trips” to retrieve

international mango shipments on behalf of Savani Farms LLC from Newark

International Airport and La Guardia International Airport, and to hand deliver these

shipments to unidentified persons and destinations throughout Pennsylvania, New York,

and New Jersey. The brothers ambiguously claim that this periodic travel may require an

extension of the currently imposed curfew or even overnight stays outside of the district.

       Despite having a vast network of employees, associates, family, and friends, as

well as wealth and access to shipping resources, the Savani brothers claim that they must

personally retrieve and deliver the mango shipments for the altruistic purpose of returning

all profits from this venture “back to rural India for charitable purposes.” ECF No. 214,




                                              10
          Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 11 of 26




¶3. The defendants further attest that their motion is exigent because of the perishable

nature of the mangoes that will be arriving imminently from India. 6 See id. at ¶ 8.

       Setting aside the facial absurdity of the defendants’ motion, including the fact that

the three brothers are somehow the only individuals who can transport the mangoes, the

motion should be denied because the defendants are already subject to the least restrictive

conditions of release that will reasonably assure their appearance in Court as required.

There are no material changes in circumstances, and the risk of flight has not abated,

since their arrest in January 2023 and the imposition of their conditions of release. That

the defendants have thus far complied with the most basic terms of release does nothing

to change the analysis. At best, this is a thinly veiled attempt to chip away at their

conditions of pre-trial release. At worst, this is an attempt to make good on their

statements that they would flee the country and evade prosecution.

   III.     Savani Farms Has Suspicious Activity

       In their motion, the defendants state that Savani Farms LLC is “a mango farm,

with packing facilities, in India . . .” that they established with their parents. ECF No.

214, ¶ 2. In addition to the farm in India, Savani Farms LLC was incorporated in

Pennsylvania in 2011 as a for-profit company with defendant Bhaskar Savani as the

organizer. See Ex. “B” (incorporation documents). Savani Farms LLC has had bank


       6
         The defendants have been importing mangoes into the United States since at
least 2011, when Savani Farms LLC was incorporated. They are well-aware of when
mango season begins and when to expect mango shipments to arrive. They have been
under indictment and under pretrial release conditions since January 2023, and thus have
had over four months to make arrangements to retrieve and deliver these mangoes in a
manner that did not involve modifying their conditions of release at the eleventh hour.
                                              11
       Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 12 of 26




accounts at Conestoga Bank, Beneficial Bank, TD Bank, Fulton Bank and Key Bank, and

possibly other banks. According to the Commonwealth of Pennsylvania, Savani Farms

LLC has never filed wage reports for any employees for the duration of its existence,

which is highly unusual for a company that does significant business.

      Key Bank records for Savani Farms LLC for January 2022 through September

2022 provide a snapshot of the company’s recent operation, and raise more questions

than answers regarding the veracity of the claims made by the defendants in their

Emergency Motion. A snapshot of some relevant transactions in the bank account is

provided below:

                                      DEPOSITS

 Time Frame            Aggregate Deposit      Additional Information
                       Amount to Savani
                       Farms LLC
                       Account 7
 8/15/2022             $13,980                Internal transfer from Key Bank
                                              Account of American Dental
                                              Management Group LLC




 4/26/2022             $100,000               Check from Bhaskar and Daksha
                                              Savani’s account at TD Bank
 5/19/2022 to          $138,988.20            Direct deposits from Aumpi LLC in
 9/12/2022                                    Fremont, CA; twenty-one of twenty-


      7
         Among other income, the account also shows an aggregate of $238,908 in cash
deposits between April and September; $454,502 in miscellaneous small check deposits
(many referencing mangoes on the checks) between May and July; and, $7,000 in
miscellaneous small money orders on May 23 and 24. The account also shows $84,988 in
income from Fresh Direct LLC in June and July.

                                           12
       Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 13 of 26




                                             three deposits are in round dollar
                                             amounts. 8
 6/17/2022 to          $100,000              Wire and EFT credits from Poojaben
 9/19/2022                                   LLC – all in round dollar amounts. 9
 8/15/2022             $7,450                Internal transfer from Key Bank
                                             account of American Management
                                             Group LLC


                                    WITHDRAWALS

 Time Frame            Aggregate             Additional Information
                       Withdrawal
                       Amount from
                       Savani Farms
                       LLC Account
 3/21/2022 to          $5,332                Direct withdrawal to “Savani Farms
 6/21/2022                                   LLC cons pay” and “Savani Farms
                                             LLC Payroll”
 4/29/2022 to          $1,174,000            International wires to “Lion foods
 7/21/2022                                   Priva”
 5/6/2022 to           $189,710              International wires to “Rainbow
 8/30/2022                                   International”
 5/9/2022 to           $973                  Direct withdrawals “Ajit” and
 6/21/2022                                   “Ajitbhai.”
 5/9/2022 to           $1,745                Direct withdrawals “Jorge”
 6/21/2011
 5/13/2022 to          $1,023                Direct withdrawals to “Samir”
 6/6/2022
 8/17/2022 to          $102,000              Direct withdrawals to “Savani Farms
 9/23/2022                                   LLC corp pay” and “Savani Farms
                                             LLC cons pay”




      8
        Aumpi LLC is a Delaware Limited Liability company incorporated in May 2018.
Aumpi advertises “Premium Indian Mangos.” It lists its address as 3909 Stevenson Blvd,
#E, Fremont, California. A Google Maps photo of that address is attached as Exhibit “C.”
      9
         See Exhibit “C.” Poojaben LLC is a Texas corporation, with a business address
of 1789 Johnson, Alice, Texas. A Google Maps photo of that address is attached in
Exhibit “D.” Based upon the photo, the property appears to be an abandoned motel.
                                           13
       Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 14 of 26




       During the mango season (approximately May through July), over $1 million, in

round dollar amounts, was wired internationally to what the government believes to be

Lion Foods Private Limited in India. According to LinkedIn, “Lion Foods Pvt. Ltd. is a

renowned company based in India, specializing in the growing, processing, and exporting

of tropical fruits, with a strong focus on mangoes. With over 20 years of experience in the

mango processing industry, Lion Foods has established itself as a leading player in the

market.” 10 The listing further provides “Lion Foods work closely with more than 1200

farmers, supporting them in adopting good agricultural practices for sustainable and

responsible farming. The company is also involved in various community initiatives,

including providing education, health, and livelihood support to the farming communities

they work with.” Id. An additional $189,710 was paid to Rainbow International 11 via

international wire. Interestingly, the Key Bank statements reflect no international wire

payments to “a mango farm, with packing facilities, in India named ‘Savani Farms’ . . . .”

ECF No. 214, ¶ 2.

       Remaining smaller amounts of money flowed out of the account in payments to

Federal Express ($10,272.25) and for other cargo expenses ($6,866.80). Additionally,



       10
            https://in.linkedin.com/company/lionfoods, accessed May 26, 2023.
       11
          According to the website https://www.indiamart.com/rainbowinternational-
pune/profile.html, accessed 5/26/2023, “Established in the year 2004, at Pune
(Maharashtra, India), we, “Rainbow International,” are counted amongst the leading
trader, importer, exporter and supplier of a high grade range of Fresh Fruits, Processed
Fruits and Fertilizer.” Kesar, Alphonso, and Benganpalli mangos are among the fruits
that they export.

                                             14
       Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 15 of 26




despite not reporting any wages to the Commonwealth of Pennsylvania, there are

outgoing direct withdrawals of more than $100,000 for “Savani Farms LLC corp pay,”

“Savani Farms LLC cons pay,” and “Savani Farms LLC payroll.” Nothing on the face of

these recent bank records evidences funds moving back to India for charitable purposes.

Finally, while the government does not dispute that shipping costs have risen since the

pandemic, it is unclear what excessive shipping costs the defendants are trying to avoid.

Based upon the recent bank records, the bulk of Savani Farms’ costs are for getting the

mangoes from India to the United States. Local shipping and transportation costs appear

de minimis in comparison. 12

       Regardless of this very suspicious operation by defendants already charged in a

RICO indictment, the government is not attempting to thwart the shipment of mangoes or

any valid charitable component of this business. Rather, based upon the frequency and

ease with which the defendants have lied to the government in the past, and recent bank

records that belie information the defendants have provided to their attorneys, the

government questions whether altruism is the true basis for the request. It is the

government’s position that the delivery of the mangoes can and should be achieved by

someone—anyone—other than the defendants themselves.




       12
          Moreover, with regard to any costs associated with the delivery of the mangoes
from Savani Farms LLC to its customers, one would expect that the customer would bare
the shipping costs, not Savani Farms. This makes the request to hand deliver the mangoes
across three states as a cost-saving measure perplexing (especially considering the current
cost of gas and potential overnight accommodation costs).
                                             15
         Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 16 of 26




   IV.      Conclusion

         For the reasons described above, the government respectfully submits that the

defendants’ Emergency Motion should be denied. Should the Court be inclined to grant

the motion, the government respectfully requests a hearing on the motion so that the

defendants are required to place their proffered representations on the record before the

Court, and also submit the names and addresses of customers they will be delivering

mangoes to on each trip, and the name of the organization(s) and amount of all charitable

contributions made from the proceeds of their mango sales.

                                           Respectfully submitted,

                                           JACQUELINE C. ROMERO
                                           United States Attorney


                                           /s Lesley S. Bonney_________
                                           LESLEY S. BONNEY
                                           KEVIN L. JAYNE
                                           MEAGHAN A. FLANNERY
                                           Assistant United States Attorneys




                                             16
Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 17 of 26




           Exhibit “A”




                               17
Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 18 of 26




                               18
Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 19 of 26




           Exhibit “B”




                               19
Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 20 of 26




                               20
Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 21 of 26




           Exhibit “C”




                               21
Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 22 of 26




           3909 Stevenson Boulevard, Fremont, CA
               Business Address of Aumpi LLC




                               22
Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 23 of 26




           Exhibit “D”




                               23
Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 24 of 26




                               24
Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 25 of 26




       Google Maps image of 1789 Johnson, Alice, Texas

              Business Address of Poojaben LLC




                               25
        Case 2:23-cr-00016-JLS Document 216 Filed 05/30/23 Page 26 of 26




                               CERTIFICATE OF SERVICE
       I hereby certify that this Response in Opposition has been served on the Filing Users

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                                 Matthew B. Lawhon, Esquire
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                                        a/k/a “Dr. B”

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                                 Scott M. Esterbrook, Esquire
                                       ARUN SAVANI

                                  William DeStefano, Esquire
                                    NIRANJAN SAVANI
                                         a/k/a “Nin”



                                            /s Lesley S. Bonney_____________
                                            LESLEY S. BONNEY
                                            Assistant United States Attorney


Dated: May 30, 2023.
